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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH


      JIM CURRY, et al.,

                            Plaintiffs,                              SCHEDULING ORDER
              v.
                                                                 Civil No. 2:22-cv-00651-JNP-DBP
      MRS. FIELDS GIFTS, INC.,
                                                          District Judge Jill N. Parrish
                            Defendant.                    Magistrate Judge Dustin B. Pead



          Under Fed. R. Civ. P. 16(b), the Local Rules of Practice, and the Order to Propose

 Schedule, the parties have agreed to the following [Proposed] Scheduling Order. Upon entry by

 the Court, the following deadlines will apply and may not be modified without a further court

 order consistent with Fed. R. Civ. P. 16(b)(4) and DUCivR 83-6.

                    DEADLINES ARE 11:59 P.M. ON THE DATE INDICATED UNLESS

                                EXPRESSLY STATED OTHERWISE


 1.     PRELIMINARY MATTERS
         a.     Fed. R. Civ. P. 26(f)(1) Conference: (date the conference           11/20/2023
                was held)


         b.          Participants: (include the name of the party and attorney, if applicable)
                     Frank Hedin and Arun Ravindran, Counsel for Plaintiffs
                     Ash Nagdev, Steve Marsden, and Maryann Bauhs, counsel for Defendant
         c.          Fed. R. Civ. P 26(a)(1) Initial Disclosures: (the parties have 01/23/2024
                     exchanged initial disclosures or will exchange no later than
                     the date provided)

                     Under Fed. R. Civ. P. 5(b)(2)(E), the parties     Yes ☒        No ☐
                     agree to receive all items required to be
                     served under Fed. R. Civ. P. 5(a) by the
                     court’s electronic-filing system or email
                     transmission.

                     Electronic service constitutes notice and


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                    service as required by those rules. The right
                    to service by USPS mail is waived.

 2.    PROTECTIVE ORDER
        a.    The parties anticipate the case will involve      Yes ☒           No ☐
              the disclosure of information, documents, or
              other materials that will be designated as
              confidential.
        b.    If the case will involve the disclosure of information, documents, or other
              materials that will be designated as CONFIDENTIAL, then good cause exists
              for the court to enter the court’s Standard Protective Order (SPO) under
              DUCivR 26-2: Discovery will necessitate disclosure of, among other things,
              Defendant’s confidential business records and information from Plaintiffs that
              could be considered nonpublic personal information under Utah law.
        c.    If a protective order is needed and the parties are not using the court’s SPO,
              then the court’s SPO, in effect under DUCivR 26-2, will govern until a different
              protective order—proposed by the parties via motion under DUCivR 7-
              1(a)(4)(D)—is adopted by the court.

                    The parties have agreed to use the Court’s SPO.
        d.          If the parties do not anticipate the case will involve the disclosure of
                    information, documents, or the materials that will be designated as
                    CONFIDENTIAL, the parties still should identify, in the space below, a process
                    to resolve all claims of waiver of attorney-client privilege or work-product
                    protection, whether or not the information, documents, or other materials will
                    be designated as CONFIDENTIAL or ATTORNEYS’ EYES ONLY, and this
                    process must also be included in the proposed Scheduling Order: The parties
                    have agreed to use the Court’s SPO.

 3.   DISCOVERY PLAN
       a.     Discovery Plan: The parties agree to the      Yes ☒                  No ☐
              following discovery plan.
                  • If the parties disagree, clearly
                     indicate the disagreement in the space
                     below:

        b.           Discovery Subjects: (describe the subject areas in which discovery will be
                     needed). Among other things,

                     Plaintiff’s Subjects:

                             1.     whether Mrs. Fields is a “commercial entity” within the meaning
                     of the NISNPIA;
                             2.     whether Plaintiffs and the class members entered into “consumer
                     transactions” with Mrs. Fields within the meaning of NISNPIA;
                             3.     whether Mrs. Fields provided the notice required by the

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                    NISNPIA to Plaintiffs and Class members before they entered into a consumer
                    transaction with Mrs. Fields;
                            4.      whether Mrs. Fields obtained Plaintiff’s and Class members’
                    Private Purchase Information as a result of consumer transactions, and whether
                    such information constitutes “nonpublic personal information” within the
                    meaning of the NISNPIA;
                            5.      whether Mrs. Fields disclosed Plaintiff’s and Class members’
                    Private Purchase Information to a third party for compensation;
                            6.      whether Mrs. Fields’s disclosures of Plaintiffs’ and the Class
                    members’ Private Purchase Information to third parties violated the NISNPIA;
                            7.      the number of violations of the NISNPIA, number of class
                    members, and information related to the class members;
                            8.      Whether the requirements of Rule 23 are satisfied so as to
                    warrant certification of the proposed Class;

                    Defendant’s Subjects:

                           9.       Whether any named Plaintiff is a resident of Utah;
                           10.      Whether any Plaintiff engaged in a transaction with Mrs. Fields
                    that was initiated or completed in the State of Utah;
                            11. Whether the Utah Legislature’s bar on a class action remedy is
                    so intertwined with the remedy provided in NISNPIA that it functions to define
                    the right created by the statute;
                            12. Whether Plaintiffs have agreed to resolve any claims they may
                    have against Mrs. Fields by binding arbitration, rather than any court or quasi-
                    judicial forum; and
                            13. Whether Plaintiffs have waived the right to bring or participate
                    in any claim conducted on a consolidated, or representative action basis.
        c.          Discovery Phases:

                    N/A

        d.          Electronically Stored Information: (describe how the parties will handle
                    discovery of electronically stored information). The parties are negotiating the
                    particulars of an ESI protocol that is consistent with the Sedona principles.
                    The parties will file their ESI agreement promptly.


 4.    FACT DISCOVERY
        a. Fact Discovery Limitations—

               1.   Maximum number of depositions by Plaintiff:                     10

               2.   Maximum number of depositions by Defendant:                     10



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               3.   Maximum number of hours for each deposition:                       8
                    (unless extended by agreement of parties)

               4.   Maximum interrogatories by any party to any party:                 20

               5.   Maximum requests for admissions by any party to any                20
                    party:

               6.   Maximum requests for production by one side to the other           100 1
                    side:

        b.     Other Fact Discovery Deadlines—

               1.   Deadline to serve written discovery:                               07/26/2024

               2.   Deadline for fact discovery to close:                              08/26/2024

               3.   Deadline for supplementation of disclosures and responses          7/26/2024
                    under Fed. R. Civ. P. 26(e): (optional)


 5.    AMENDING OF PLEADINGS AND JOINING OF PARTIES 2
        a. Plaintiffs’ First Amended Complaint

               1.           Plaintiffs to file First Amended Complaint (FAC)           1/19/2024
                            and withdraw motion for leave to amend.
                            (Defendants hereby stipulate to the filing of the
                            FAC, reserving all rights, including the right to file a
                            motion to dismiss as set forth herein.)

               2.           Deadline for Defendant to answer, move, or                 2/17/2024
                            otherwise respond to the FAC. The parties stipulate
                            to the following briefing schedule for Defendants’
                            motion to dismiss.

               3.           Plaintiffs’ response brief to Defendant’s motion           03/01/2024

               4.           Defendant’s reply in support of any Rule 12 motion         03/15/2024
                            it files in response to Plaintiffs’ FAC

        b.     Deadline to file a motion to amend pleadings—



 1
   For clarity, this sets the maximum number of document requests that Plaintiffs (collectively)
 may serve on Defendant, and the maximum number of document requests that Defendant may
 serve on Plaintiffs.
 2
   Counsel must still comply with the requirements of Fed. R. Civ. P. 15(a).

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               1.            Plaintiff:                                           05/01/2024

               2.            Defendant:                                           05/01/2024

         c.    Deadline to file a motion to join additional parties—

               1.            Plaintiff:                                           05/01/2024

               2.            Defendant:                                           05/01/2024


 6.     EXPERT DISCOVERY
         a. Filing of Notice of Designation required by DUCivR 26-1(a)(2)—

               1.       Plaintiffs’ Deadline                                      07/05/2024

               2.       Defendant’s Deadline                                      08/05/2024

         b.    Service of Fed. R. Civ. P. 26(a)(2) Disclosures and Reports—

               1.       Plaintiffs’ Deadline                                      07/05/2024

               2.       Defendant’s Deadline                                      08/05/2024

               3.       Rebuttal reports, if any:                                 08/19/2024

         c.    Deadline for expert discovery to close:                            09/09/2024


 7.     OTHER DEADLINES AND TRIAL-RELATED INFORMATION 3
         a. Motion for class certification
            1.        Deadline to file any class certification motion              9/20/2024
            2.        Deadline to file opposition brief                            10/18/2024
            3.        Deadline to file reply brief                                 11/1/2024
         b. Dispositive or potentially dispositive motions: (including a motion
            to exclude experts when expert testimony is required to resolve the
            motion)
            1.        Deadline for filing                                          11/04/2024
            2.        Deadline for filing opposition                               12/4/2024
            3.        Deadline to file replies                                     12/18/202
         d. Deadline for filing a request for a scheduling
            conference for the purpose of setting a trial date if no
            dispositive motion are filed:




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     The court will enter the date in Section 7.d.

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          SO ORDERED this _________ day of ______, 2024.

                                         BY THE COURT:



                                         _____________________________________
                                         Dustin B. Pead
                                         United States Magistrate Judge




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